Case: 1:17-md-02804-DAP Doc #: 2364-73 Filed: 08/14/19 1 of 3. PageID #: 385518




             PSJ3
           Exhibit 518
               Case: 1:17-md-02804-DAP Doc #: 2364-73 Filed: 08/14/19 2 of 3. PageID #: 385519
    Message
    From:          Rosen, Burt [/O=PURDUE/OU=PURDUE US/CN=RECIPIENTS/CN=ROSENBU]
    Sent:          1/11/2008 12:56:14 PM
    To:            Seid, Stephen [/O=PURDUE/OU=PURDUE US/CN=SALES AND MARKETING - FIELD/CN=B4BEE2C8]
    Subject:       RE: HDMA materials for Thursday's PCF meeting



    HDMA presented and lots of interest was raised with the Pain Care Forum
    members. We have a follow up call scheduled for the 18th to see if we can develop
    some strategies.

    Burt Rosen
    VP Federal Government Affairs
    700 13th St. NW
    Suite 525
    Washington, DC 20005
    Office: 202-508-0750
    Cell:



    From: Seid, Stephen
    Sent: Friday, January 11, 2008 11:14 AM
    To: Rosen, Burt
    Subject: RE: HDMA materials for Thursday's PCF meeting
    Burt

       HDMA and their members are very concerned about this. Dale Smith, the CEO of HD Smith, contacted me to discuss
    this prior to the holidays. I offered our support and insight on these issues. Many legitimate outlets are getting restricted
    supplies of Cll's

    Steve Seid
    National Accounts
     Trade Relations




    From: Rosen, Burt
    Sent: Thursday, January 10, 2008 8:36 AM
    To: Seid, Stephen
    Subject: FW: HDMA materials for Thursday's PCF meeting
    HDMA is presenting today to a group called the Pain Care Forum which I chair.
    Have you seen this letter? It seems very onerous stating they must investigate
    unusual orders before shipping.




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            Case: 1:17-md-02804-DAP Doc #: 2364-73 Filed: 08/14/19 3 of 3. PageID #: 385520
    From: Rosen, Burt
    Sent: Wednesday, January 09, 2008 10:01 AM
    To: Abrams, Robin; Bannon, Timothy; Graham, Aaron; Haddox, Dr. J. David; Heins, James; Must, Alan; Silbert, Richard
    W; Udell, Howard
    Subject: FW: HDMA materials for Thursdays PCF meeting
    fYi
    Burt Rosen
    VP Federal Government Affairs
    700 13th St. NW
    Suite 525
    Washington, DC 20005
    Office: 202-508-0750
    Cell:



    From: Rosen, Burt
    Sent: Wednesday, January 09, 2008 10:00 AM
    To: Shaw, Solana; Aaron Gilson; Adam Chrisney; Adam Clark; Barry Eliot Cole; Bennett, Pamela (Gov't Affairs); Brad
    Gary; Brad Maruca; Brian Munroe; Caroline Moody; Christy Torkildson; Claudia Campbell ; Courtney Snowden; Cohen,
    Dan; David E. Joranson; David Swankin; David Woodmansee; Gail Amalia B. Katz; Heather Mullen; Ilisa Halpern Paul;
    Janet McUls1w; Jason Grove; Jeff Myers; Jennifer Connelly; Jerold Roschwalb; Jim Broatch; Jonathan Keyserling; Joy
    Buck; Judy Lentz; June Dahl PhD; Karina Tabor; Kathryn Tucker; Kristin Morris; Kristina Lunner; Lisa Robin; Mark
    Rasmussen; Marsha Stanton; Mary Bennett; Mary Pat Aardrup; Michael Splaine; Michelle Lonchar; Micke A. Brown; Myra
    Christopher; Nancy Buermeyer; Ned Masin; Paul Arnstein; Penney Cowan ; Peter Slone; Rebecca Kirch; Robert Reder;
    Robert Saner; Robert Twillman; Scott M. Fishman; Stephen Porada; Steve LaPierre; Susan Rogers; Tamara Sloan
    Anderson; Theresa Doyle; William Rowe
    Cc: 'Melville, Scott'
    Subject: HDMA materials for Thursday's PCF meeting
    Scott Melville, SVP at HDMA will be presenting at the PCF meeting on Thursday.
    Here are some materials that he has provided.




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